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EXHIBIT 3
Case 1:24-cv-00774-LLA Document 36-5 Filed 10/04/24. Page 2of9

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

COMMITTEE FOR A CONSTRUCTIVE
TOMORROW, et al.,

Plaintiffs,
Case No. 24-cv-00774 (LLA)
v.
Hon. Loren L. AliKhan
UNITED STATES DEPARTMENT OF THE
INTERIOR, et al.,

Defendants.

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Declaration of Peter Flaherty and the National Legal and Policy Center

I, Peter Flaherty, under 28 U.S.C. § 1746, declare:

1, My name is Peter Flaherty, a plaintiff in this case. I am a Virginia resident
currently employed as Chairman of National Legal and Policy Center (“NLPC”), a nonprofit
503(c)(3) organization headquartered in Falls Church, Virginia, which is also a plaintiff in this
case. NLPC promotes good government and corporate decision-making.

2. I am a Virginia resident and ratepayer as well as NLPC. Both myself and NLPC
are being assessed a surcharge on our monthly electric bills from Dominion Energy for the
Coastal Virginia Offshore Wind project. My monthly surcharge is in the amount of $2.53.' This
surcharge would be eliminated if the project were halted. NLPC is also being assessed a
surcharge of $3.74 on its monthly electric bills from Dominion Energy for the Coastal Virginia

Offshore Wind project,? which would be eliminated if the project were halted.

! See Attachment 1, Dominion Energy Bill for P. Flaherty.
* See Attachment 2, Dominion Energy Bill for the National Legal and Policy Center.

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3. Approval of the Dominion Wind Project has economically injured Virginia
ratepayers, including NLPC and me, through these monthly energy bill increases to subsidize
this offshore development. The Dominion Wind project approvals and decisions, including the
Biological Opinion, have caused, and continue to cause economic injury to NLPC and me, while

also failing to ensure the continued viability of the North Atlantic Right Whale.

I declare under penalty of perjury that the foregoing is true and correct.

Fejer Flaherty

Ox SIGN 1J579ZKL-4Z8PK92L

Peter Flaherty on behalf of himself and
the National Legal and Policy Center as its
Chairman.

October 4, 2024
Case 1:24-cv-00774-LLA Document 36-5 Filed 10/04/24. Page 4of9

ATTACHMENT 1
Sep 23, 2024
PETER T FLAHERTY

Case 1:24-

CV-

Billing and Payment Summary

Account agg”

Due Date: Oct 18, 2024

Explanation of Bill Detail

Customer Service 1-866-DOM-HELP (1-866-366-4357)

Previous Balance 192.47
{Total Amount Due: $ 57.10 | Payment Received 192.47CR
To avoid a Late Payment Charge of 1.5% please pay by Oct 18, 2024 Balance Forward 0.00
Previous Amount Due: $ 192.47 Residential (Schedule 1) 08/21-09/19
Payments as of Sep 20: $ 192.47CR Distribution Service 19.74
Electricity Supply Svc (ESS)
. . Generation 13.79
For service emergencies and power outages please call Transmission 6.33
1-866-DOM-HELP (1-866-366-4357). Visit us at www.dominionenergy.com. Fuel 7.30
Non-Bypassable Charges
Meter and Usage Usage History Rider CE Clean Energy Projects & PPAs 1.02
aH: . Rider RPS Renewable Energy Pgm 1.22
Current Billing Days: 30 Mo__Yr kWh Rider CCR Coal Ash Closure 0.84
Billable Usage sop 23 we Rider OSW Off-shore Wind 2.53
Schedule 1 08/21-09/19 Nov 23 490 Rider PIPP Universal Service Fee 0.26
Total kWh 352, Dec (23 560 Deferred Fuel Cost Charge 1.19
Jan 24 563 Sales and Use Surcharge 0.30
Measured Usage Feb 24 353 2023 Biennial Review Credit 0.94CR
Meter: 0259971339 08/21-09/19 Mar 24 267
Current Reading 4113381 Apr 24 309 State/Local Consumption Tax 0.55
Previous Reading 113028 May 24 306 = Arlington County Utility Tax 3.00
Total kWh 352 Yun 24 469 Total Current Charges 57.10
Current Reading 4.04 Aug a ee
Demand 4.04 Sep 24 352 Total Account Balance 57.10

To better understand how your bill is calculated, visit
www.dominionenergy.com/yourbill.

Important Customer Information from Dominion Energy Virginia
At Dominion Energy, we value the trust you place in us when you provide us with your personal information. We take your privacy seriously

and are committed to protecting it. To learn more, please visit: DominionEnergy.com/privacy. If you would like to request a mailed copy, please
contact 1-866-DOM-HELP (1-866-366-4357).

Please record your account number on your check and mail payment to: Dominion Energy Virginia, PO Box 26543, Richmond, VA 23290-0001.

*“PRINT SUPPRESSED*™*

Please detach and retum this payment coupon with your check made payable to Dominion Energy Virginia. Please see reverse side for mailing address change instructions.
Payment Coupon Inv#: 800150514813

Bill Date Sep 23 24 Amount Enclosed
Please Pay by 10/18

$57.10

Account No. 004066166036

Send Payment to:

I=00000

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DOMINION ENERGY VIRGINIA
P.O. BOX 26543
RICHMOND VA 23290-0001

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As a result of the 2023 biennial rate review, the Virginia State Corporation Commission has approved bill credits for Dominion Energy Virginia
customers. This bill credit amount is based on your usage on and after January 1, 2024 through June 30, 2024.

If you would like to learn more about the charges on your bill, you can use our Bill Calculator Worksheet to help understand how your bill is calculated.
For more information, please visit DominionEnergy.com/virginia/billing/understand-my-bill. If you would like to request a paper copy of the Bill
Calculator Worksheet, please contact 1-866-DOM-HELP (1-866-366-4357) or email us at BillCalculatorWorksheetSupport@dominionenergy.com.

Visit 'Manage Account’ at DominionEnergy.com or call us to join our AutoPay program. It is a free service.

If you'd like to donate to EnergyShare and help those in need with their energy bills, visit DominionEnergy.com and sign-in or register for an online
account, click ‘Billing’ in the navigation bar and select 'Donate to EnergyShare’. You can also mail a check for any amount payable to EnergyShare
to P.O. Box 11807, Richmond, VA 23230-1180.
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Case 1:24-cv-00774-LLA Document 36-5

Mailing Address: To update your mailing address, visit DominionEnergy.com
and sign in or register to manage your account online.

Moving: Visit DominionEnergy.com and select Manage Service to start, stop or
transfer your service. You can also view the status of your existing order, change/
cancel your order or check your account balances.

Phone Number: Having an accurate phone number on your account helps report
your outage quicker. Visit DominionEnergy.com and sign in or register to manage
your account online and update your phone number, or call 1-800-222-0401.

Services

Braille Billing/Large Print Bills: Visually impaired customers may request their
bill printed in Braille or large print by calling us.

Budget Billing: Bills are averaged over a 12-month period and the averaged
amount is paid monthly. Periodic reviews are done to assure the amount is
accurate. Enroll at DominionEnergy.com/budgetbilling.

eBill: Dominion Energy's paperless billing option is convenient, easy and secure.
You can make free, same-day payments from your checking/savings account.
You'll also receive a payment reminder three days before your bill is due. Leam
more at DominionEnergy.com/eBill.

EnergyShare: Help a family in need through EnergyShare. You may mail a
separate check for any amount payable to EnergyShare to P.O. Box 11807
Richmond, VA 23230-1180.

Outage Reporting: Visit us on your mobile device at DominionEnergy.com to
report/check outages anytime, anywhere. Our voice response system is also
available 24/7 to report or check the status of an outage.

Payment Plans: Visit DominionEnergy.com, search: Payment Arrangements
to leam if you qualify for an extension to your due date or scheduled monthly
payments.

Third Party Notification: At your request, we will send a copy of any past-due

notice to a person of your choice. Enroll at DominionEnergy.com, search: Third
Party Notice.

Customer Contact Information

Self Service: DominionEnergy.com, search: Manage Account, or call 1-866-DOM-
HELP to use the automated phone transaction center.

Customer Care: 1-866-DOM-HELP (1-866-366-4357) Monday-Friday, 8:00 a.m.
— 5:00 p.m. EST.

Correspondence: P.O. Box 26666, Richmond, VA 23261-6666.

Payment Options

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Applicable Riders: Charges are applied to certain rate schedules to recover various
costs associated with Dominion Energy's electric operations and production.

Deferred Fuei Cost: Charges associated with the cost of previously used fuel to
produce electricity, including transportation, which was approved in a financing order
issued to Dominion Energy Virginia. Virginia Power Fuel Securitization, LLC owns the
charge of $0.003371/kWh and Dominion Energy Virginia is collecting on their behalf.

Demand Charge (kW): Largest electrical use of highest “demand” for electricity
averaged in any 30-minute period per month measured in kilowatts (kW). Charge is
calculated based on cost per kW used.

Distribution Service: Charges for the use of local wires, transformers, substations,
and other equipment used to deliver electricity to your home or business. This service
must be purchased from Dominion Energy Virginia.

Electric Supply Service (ESS): Charges for the generation and transmission of
electricity, including fuel. This service may be purchased from a licensed competitive
service provider.

. Generation: Charges for the production of electricity from Dominion
Energy's power plants.

- Transmission: Charges for moving electricity from Dominion Energy's
power plants to substations.

- Fuel: Charges associated with the cost for fuel used to produce electricity,
including transportation.

kWh (kilowatt hour): A measurement of electrical energy.

Late Payment Charge: Fee assessed on any unpaid Dominion Energy Virginia
charges past due at the time of billing.

Multiplier: Some meters are programmed to record energy at a slower rate due to
the demand needed. Once the readings are obtained, the usage is increased by the
programmed rate (multipiier).

Rate Schedule: Price used to calculate your bill. View our rate schedules at
DominionEnergy.com, search: Rates.

Re-Regulation/Energy Choice

Competitive Service Provider (CSP) or Supplier: A person or company who is
licensed by the State Corporation Commission to sell competitive energy services such
as ESS.

Opt-Out: Under Energy Choice, Dominion Energy Virginia must provide your name,
address, account number, and electricity usage information to CSPs. If you do not
want your information released, call us to “opt-out”.

Price to Compare: The price per kWh of ESS to be used to compare prices with
CSPs. Call us to obtain your price compare.

Here are some payment options for your convenience. As a reminder, payments by check or eCheck cannot be accepted if an account has two or more returned payments
within the last 12 months. Customer bills will display a special message if an account is not eligible to pay by check or eCheck.

AutoPay: Enroll in AutoPay to have your bill automatically deducted from your checking or savings account. Enroll online at DominionEnergy.com, search: AutoPay.

Free Online Payment: Make a one-time, same-day payment or schedule a payment for free from your bank account. You can also enroll in eBill, our paperless billing
program. With eBill, you'll also receive an email and have the option to also receive a text notification when your bill is ready and a payment reminder three days before your

bill is due. Sign in or register at DominionEnergy.com to manage account online.

Credit/Debit/Purchasing Card and Electronic Checks: Pay online at DominonEnergy.com, search: Credit Card, or call 866-DOM-HELP. Convenience fee applies.

In Person: For an Authorized Payment Center near you, visit DominionEnergy.com, search: Payment Centers. Be sure to have either your Dominion Energy account number
or your printed payment coupon available when paying in person. Convenience fee applies.

U.S. Mail: Mail your check or money order to Dominion Energy Virginia, P.O. Box 26543, Richmond, VA 23290-0001. Checks sent to Dominion Energy will be processed
upon receipt regardless of the date included on the check. Dominion Energy will not send you the original check or its electronic image. As a reminder, please DO NOT

INCLUDE CORRESPONDENCE OR CASH with your payment.

- Electronic Check Conversion: Paying by check authorizes Dominion Energy to use the information from your check to make a one-time electronic funds transfer from
your bank account. The funds may be withdrawn as early as the date we receive your payment, and you will not receive your check back from your financial institution.

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ATTACHMENT 2
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Billing and Payment Summary

Due Date: Oct 15, 2024

[Total Amount Due: $ 98.91 |

To avoid a Late Payment Charge of 1.5% please pay by Oct 15, 2024
Previous Amount Due: $ 120.46

Payments as of Sep 18: $ 120.46CR

Explanation of Bill Detail

Customer Service 1-866-DOM-HELP (7-866-366-435,

120.46
120.46CR

Previous Balance
Payment Received

For service emergencies and power outages please call

1-866-DOM-HELP (1-866-366-4357). Visit us at www.dominionenergy.com.

Meter and Usage
Current Billing Days: 32

Usage History

Mo Yr kWh
. Sep 23 858
Billable Usage Oct 23 557
Schedule GS-1 O8/17-O9/17T oy 03 955
Total kWh 767 Dec (23 1658
Demand 4 Jan 24 2081
Feb 24 2235
Measured Usage Mar= 24 1811
Meter: 0200091734 08/17-O9/17 Apr 24 1520
Current Reading 223502 May 24 oo
. . un
Previous Reading 222740 ‘ul 24 4178
Total kWh 761 Ni
ug 24 961
Current Reading 4.42 Sep 24 761
Demand 4.42

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important Customer Information tron Domini ore
At Dominion Energy, we value the trust your ‘pace i in ws us with our personal inform
isik. n

and are committed to protecting it. To learm more’ o
contact 1-866-DOM-HELP (1-866-366-4347

Mailed on Sep 19, 2024

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Balance Forward 0.00
Non-Residential (Schedule GS-1) 08/17-09/1
Distribution Service
Basic Customer Charge 13.05
Distribution Service kWh 18.41
Electricity Supply Sve (ESS)
Generation 26.67
Transmission 9.97
Fuel 45.78
Non-Bypassable Charges
Rider CE Clean Energy Projects & PPAs 1.35
Rider RPS Renewable Energy Pgm 2.37
Rider CCR Coal Ash Closure 1.81
Rider OSW Off-shore Wind 3.74
Rider PIPP_Universal Service Fee 0.56
Deferred Fuél'Gost Charge 2.57
Sales and Use Svrcharge 0.50
2023 Biennial Review Bredit 3.65CI
e/Local Consumption * 4.20
hurch City Utility Tax 4.58
Curregt Charges 98.91
an Actehnt alance 98.91

Vil ay ent options, request selvice changes and enroll in eBill at

Wioneneroy, com, searcit; Manage Your Account

. We take your privacy seriously
/privagyf lf you w like to request a mailed copy, please

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Invi#: 880600497 120

Please detach and retum this payment coupon with your check made payable to Dominion Energy Aves reverse side for mailing address charge Instructions

Payment Coupon

Bill Date Sep 18 24
Please Pay by 10/15
$98.91

Amount Enclosed

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Account No. 001350225353

~, _— Send Payment to:

# 900031632 I=10110

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DOMINION ENERGY VIRGINIA
P.O. BOX 26543
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